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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

 DAUD S. EL-BAKARA, SR.,

            Plaintiff                                  Case No. 2:17-cv-05138-MMB

                        v.

 WELTMAN, WEINBERG & REIS CO,.
 LPA,

            Defendant

              PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HIS
                             MOTION TO COMPEL

    I.      INTRODUCTION
         This is a consumer protection matter brought by an individual against a debt collection law

firm. Plaintiff alleges that the defendant illegally levied his bank account in an attempt to collect

a debt owed by another individual. This is an arbitration track case that has been pending for

nearly two (2) years. In that time, and despite Plaintiff’s request, Defendant has not produced a

single document in discovery, and has refused to disclose any information about the underlying

debt, or any information about its policies that it relies upon as a basis for its defense.

         On September 24, 2019, Your Honor held a telephone scheduling conference, during which

defense counsel reiterated its prior position that Defendant was withholding responsive discovery

based on its belief that disclosing those documents and information would violate federal law.

(ECF No. 38). The Court directed the parties to attempt to resolve the discovery dispute by

stipulation, and if the parties could not reach a resolution, Plaintiff was directed to file a Motion to

Compel. The parties have been unable to reach a resolution of this discovery dispute, and as a

result, Plaintiff files this Motion.




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    II.      FACTS

          Plaintiff filed this action on November 15, 2017. See ECF No. 1. In his Complaint,

Plaintiff alleges that Defendant is a debt collector, and in its attempt to collect a debt from a third-

party, Defendant wrongfully levied Plaintiff’s bank account. Id. Plaintiff alleges that he suffered

significant harm as a result of Defendant’s actions, including loss of use of his funds, along with

non-economic damages. Id.

          Defendant filed its Answer, denying all allegations, on January 16, 2018. (ECF No. 10).

On February 21, 2018, Plaintiff served his first set of written discovery requests on Defendant.

See Exhibit A, Plaintiff’s Discovery Requests.1 After numerous extensions, Defendant finally

provided responses on May 3, 2018. See Exhibit B, Defendant’s Responses. In its responses,

Defendant objects to every interrogatory and request for document; refused to provide a

substantive response to 19 out of the 22 interrogatories; and has produced no documents

whatsoever. Id.

          Following receipt of the responses, counsel engaged in numerous telephone conversations

regarding the deficiencies in Defendant’s discovery responses; however, the effort was

unproductive. As a means to further clarify the dispute, and engage in good faith efforts to resolve

the dispute, the undersigned served a detailed letter on defense counsel outlining the basis for the

discovery requests, and seeking supplementation from Defendant. See Exhibit C, July 24, 2018

Letter. Again, Defendant responded by simply confirming that it would not agree to produce the

requested documentation.2




1
  Pursuant to Local Rule 26.1(b), the verbatim interrogatories, requests, and Defendant’s responses are attached
hereto as Exhibits A and B.
2
  The undersigned’s certification pursuant to Local Rule 26.1(f) is attached hereto as Exhibit D.

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       On August 24, 2018, Plaintiff filed a Motion to Compel seeking an order compelling

Defendant to provide responses to the discovery requests. (ECF No. 30). On September 10, 2018,

Defendant filed its opposition to the Motion to Compel arguing that it was justified in withholding

all documents and information for two discrete reasons. (ECF No. 38). First, Defendant argued

that it was entitled to withhold information and documentation based on the FDCPA’s prohibition

on disclosing debtor information to third parties when attempting to collect debts. Id. at p. 2.

Second, Defendant argued that Plaintiff had not established that the underlying debt was a

consumer debt, and therefore it could not respond to the discovery requests. Id. at p. 3.

       The Court held a conference call regarding Plaintiff’s prior Motion on September 11, 2018

during which the Court directed Plaintiff to file an amended complaint to provide additional factual

details regarding his claims against Defendant. (ECF No. 42). Plaintiff filed his Amended

Complaint on September 27, 2018. (ECF No. 44). On October 11, 2018—nearly a year after

Defendant filed its initial Answer—Defendant filed a motion to dismiss arguing that Plaintiff had

not adequality pled the underlying debt was a consumer debt. Defendant took this position despite

the fact that it possesses detailed documentation, including accounts statement and agreements

regarding the debt—information Defendant has refused to produce.                The Court granted

Defendant’s Motion to Dismiss with leave for Plaintiff to amend his complaint to provide

additional details regarding the nature of the underlying debt. (ECF No. 51).

       On April 2, 2019, after Plaintiff’s counsel discussed the nature of the underlying debt with

the actual debtor, Plaintiff filed his Second Amended complaint including explicit details as to the

consumer, and not commercial, nature of the underlying debt. (ECF No. 52). Defendant responded

with a second Motion to Dismiss, making a baseless argument that because Plaintiff did not owe




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the debt he should not be permitted to plead details regarding the nature of the debt. (ECF No.

53). Defendant’s Motion was denied. (ECF No. 57).

          On September 24, 2019, the Court held a second scheduling conference in this matter.

During the conference call, the Court discussed the parties need for discovery. The parties

explained Defendant’s position in refusing to produce information and documents to which the

Court directed the parties to attempt to resolve the discovery dispute within fourteen days. If the

parties were unable to agree to a resolution, Plaintiff was directed to file a Motion to Compel. The

undersigned attempted to resolve the discovery dispute providing defense counsel with a draft

proposed stipulation and request for order. See Exhibit E, draft proposed stipulation. In response,

Defendant made clear that it would not agree to the draft proposed stipulation, would not agree to

any stipulation resolving the discovery dispute and would oppose any motion to compel or effort

to obtain the relevant discovery.


   III.      ARGUMENT

             A. Standard for Discovery in General

          Rule 37 of the Federal Rules of Civil Procedure provides that if a party fails to respond to

discovery, or provides evasive or incomplete answers, then the party submitting discovery may

move for an order compelling discovery. F.R.C.P. 37(a)(2)-(4). Rule 26 governs the scope of

discovery and states in relevant part, “Parties may obtain discovery regarding any nonprivileged

matter that is relevant to any party’s claim or defense and proportional to the needs of the case…”

Relevancy is broadly construed, and determined in relation to the facts and circumstances of each

case, and when there is doubt about relevance, a court should tend toward permitting discovery.

See Corrigan v. Methodist Hosp., 158 F.R.D. 54, 57 (E.D. Pa. 1994). Rule 26 further provides

that an attorney must sign off on any objection to a discovery request, and by doing so, certifies


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that the objection is “consistent with the[] rules and… not interposed for any improper purpose,

such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation.” F.R.C.P.

26(g)(1)(B).

       As detailed below, Plaintiff’s discovery requests directed towards Defendant are relevant

to the facts of this case, and seek information relating to Plaintiff’s claims and Defendant’s

defenses. Despite Plaintiff’s good faith efforts, Defendant has failed to comply with its discovery

obligations, and as a result, Plaintiff’s ability to take depositions, prepare for the arbitration, and

move the case towards disposition has been significantly prejudiced.

           b. Defendant’s new basis for refusing to answer interrogatories or
              produce documents is baseless

       In its opposition to Plaintiff’s previous Motion to Compel, and during the September 24,

2019 conference, Defendant made clear that it is refusing to answer interrogatories or produce

documents related to the underlying debt and the third-party based on 15 U.S.C. § 1692c. Relevant

here, section 1692c states, “without … the express permission of a court of competent jurisdiction

… a debt collector may not communicate, in connection with the collection of any debt, with any

person other than the consumer, his attorney, a consumer reporting agency if otherwise permitted

by law, the creditor, the attorney of the creditor, or the attorney of the debt collector.” See 15

U.S.C. 1692c(b) (emphasis added).

       Here, the prohibition on communications contained in section 1692c(b) would not apply to

Defendant responding to discovery requests. Responding to discovery requests is clearly not “in

connection with the collection of any debt.” However, even if section 1692c(b) would apply to

discovery responses, a court order would allow Defendant to disclose the information and

documents related to the third-party. As a result, Plaintiff respectfully request that the Court enter




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such an order compelling Defendant to provide information and documents related to the

underlying debt.

           c. Plaintiff’s Interrogatories And Requests Are Appropriate And Within
              The Scope Of Discovery

       Plaintiff’s complaint alleges that Defendant violated the Fair Debt Collection Practices Act,

(“FDCPA”) and state common law by wrongfully levying Plaintiff’s bank account in its attempts

to collect a debt owed by a third party. See ECF. No. 52. Defendant answered by denying every

allegation in Plaintiff’s complaint, and asserting eighteen (18) affirmative defenses. See ECF. No.

59. One of Defendant’s affirmative defenses includes the allegation that if a violation occurred, it

was not intentional, and resulted from a bona fide error notwithstanding the maintenance of

procedures reasonably adapted to avoid such errors. Id. This defense is based on 15 U.S.C. §

1692k(c). FDCPA violations that may qualify for the bona fide error defense must result from

clerical or factual mistakes, not mistakes of law. Daubert v. NRA Group, LLC, 861 F.3d 382, 394

(3d Cir. 2017) (citing Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich, LPA, 559 U.S. 573,

587 (2010). By alleging a bona fide error defense, Defendant has brought into issue its knowledge

of the alleged violation, the facts regarding wrongful levying of the bank account, Defendant’s

FDCPA compliance procedures, and any steps taken following any prior occurrences involving

the wrongful levying of a bank account.

       Plaintiff’s discovery requests were tailored specifically to address the activity that forms

the basis of Defendant’s violation of the FDCPA, and the basis for Defendant’s affirmative

defenses. In particular, Plaintiff’s discovery seeks information and documents related to the

activity that led to the levying of Plaintiff’s bank account, details of the underlying debt that

Defendant was attempting to collect, Defendant’s policies and procedures for complying with the




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FDCPA, Defendant’s history and knowledge of wrongfully levying bank accounts, and the factual

basis for Defendant’s affirmative defenses.

              d. Defendant’s Objections Are Baseless

         Even a cursory review of Defendant’s discovery responses reveal that it has simply failed

to meet its discovery obligations under the Rules. All told, and despite Plaintiff’s good faith

efforts, Defendant has produced no documents whatsoever, and has only provided substantive

answers to three (3) interrogatories. Defendant’s objections are baseless and its reasons for

refusing to engage in discovery have no merit. Its objections can be grouped into the following

categories:

                        1. Objection based on “Plaintiff’s Burden”

         Defendant objects to nearly all of Plaintiff’s Interrogatories and Request for Documents on

the basis that “plaintiff bears the burden of providing that the account at issue is a ‘debt’” as that

term is used in the FDCPA. This objection is nonsensical, inappropriate, and cannot serve as a

basis for Defendant to withhold relevant information and documentation. Even if Plaintiff does

bear the ultimate burden to establish that the underlying debt falls within the purview of the

FDCPA, it is inappropriate to assert this objection and refuse to participate in discovery on that

basis.

                        2. Objection based on confidentiality

         Again, in response to nearly all of Plaintiff’s Interrogatories and Requests for Documents,

Defendant objects and refuses to provide a substantive response on the basis that the required

information and documentation is confidential and proprietary. Defendant has not provided any

information or detail that would allow Plaintiff to determine the extent of the information and

documentation being withheld, and provides no basis whatsoever for its conclusion that all of the



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information and documents being withheld are proprietary and confidential. Further, a review of

the interrogatory and requests reveal that in most places, there is simply no basis to argue that the

information and documents requested are confidential and proprietary. For example, Defendant

even offers this objection as a basis for not providing information regarding judgments it has

obtained for its clients—presumably information that is available on public dockets. See Exhibit

B at Interrogatory No. 20.

       Even if the information and documents requested are in fact proprietary and confidential,

the proper course of action, as suggested by the undersigned to Defense Counsel on multiple

occasions, was to seek an agreement on a confidentiality agreement or entry of a protective order

from the court. See Exhibit C. However, the burden remains on Defendant to establish its right to

that protection. See Sprinturf, Inc, v. Southwest Recreational Industries, Inc., 216 F.R.D. 320,

322-23 (E.D. Pa. 2003); C.A. Muer Corp. v. Big River Fish Co., 1998 WL 488007, at *2 (E.D. Pa.

Aug. 10, 1998) (“The burden of justifying the confidentiality of each and every document sought

to be covered by a protective order remains on the party seeking the order”). The undersigned

offer to enter into a confidentiality agreement, and even offered use of a prior confidentiality

agreement that Defendant has previously agreed to use.           However, Defendant refused the

confidentiality agreement, maintained its objections, and refused to provide the requested

information and documentation.

       With the lack of any factual basis for asserting such an objection, along with Plaintiff’s

willingness to agree to a confidentiality agreement, Plaintiff respectfully requests that this

Honorable Court order Defendant to provide full and complete responses to the Interrogatories and

Document Requests.




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                        3. Narrative Objections

         Finally, Defendant refuses to respond to Interrogatory No. 18, which requests the factual

basis for its affirmative defenses, on the basis that it “improperly seeks a narrative response.” This

is obviously an inappropriate objection, and there is simply no basis for refusing to respond to an

interrogatory because it seeks a narrative response. Further, the interrogatory seeks the factual

basis for Defendant’s affirmative defenses. This information is clearly within the bounds and

scope of discovery. Accordingly, Plaintiff respectfully request that this Honorable Court order

Defendant to provide full and complete responses to this Interrogatory.

   IV.      CONCLUSION

         For the forgoing reasons, Plaintiff requests that this Honorable Court grant his Motion to

Compel, and Order Defendant to provide full and complete responses to the above-referenced

Interrogatories and Requests for Production of Documents. A proposed Order accompanies this

Motion.


                                                              Respectfully submitted,

                                                              FRANCIS & MAILMAN, P.C.

                                                              /s/ Joseph L. Gentilcore
                                                              _____________________________
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